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                                                                    IN THE UNITED STATES DISTRICT COURT
                                                                    FOR THE NORTHERN DISTRICT OF TEXAS
                                                                            FORT WORTH DIVISION

  UNITED STATES OF AMERICA
  v.                                                                                                                                CRIMINAL NO. 4:24-CR-001-Y
  JOHN ANTHONY CASTRO


                                                                        AGREED ADMITTED EXHIBIT LIST



                                                                             GOVERNMENT'S EXHIBITS

               Sponsoring
   Ex. #        Witness
                                Description of Exhibit                                                                                Identified         Offered               Admitted

  Exhibits Related to John Castro’s Background
     1             Ma           Print-out from Castro & Co. website                                                                                                               
     2             Ma           Castro's Texas Driver’s License                                                                                                                   
     3             Ma           U.S. Military Academy Prepareatory School records for Castro                                                                                      
     4             Ma           Texas A&M School records for Castro                                                                                                               
     5             Ma           University of New Mexico School of Law School records for Castro                                                                                  
     6             Ma           Georgetown University Law School records for Castro                                                                                               
     7             Ma           July 18, 2016 Letter from Florida Bar to Castro (2 pages)                                                                                         
     8             Ma           Enrollment Status records for IRS                                                                                                                 
     9             Ma           Castro’s personal income taxes for 2016                                                                                                           
     10            Ma           Castro’s personal income taxes for 2017                                                                                                           
     11            Ma           Castro’s personal income taxes for 2019                                                                                                           
     14            Ma           Castro’s personal income taxes for 2022                                                                                                           
     16            Ma           Castro’s Resume from Gudorf Law Firm                                                                                                              
     17            Ma           Castro Tweet dated September 7, 2023                                                                                                              
     18            Ma           Castro Tweet dated Spetmber 11, 2023                                                                                                              


* The parties have stipulated that Government Exhibits 1-16, 21-27, 31-41, 46-55, 81-407, 434-466, and 467-480 are authentic and will not challenge thier admission under FRE 901(A).
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               Sponsoring
   Ex. #        Witness
                                Description of Exhibit                                                                                Identified         Offered               Admitted

     19            Ma           "Inside Sources" article with Castro Interview, dated Oct. 22, 2023                                                                               
     20            Ma           The Hill article with Castro interview, dated January 10, 2024                                                                                    
     21            Ma           Newsweek article dated January 11, 2024                                                                                                           
  Exhibits Related to Castro & Co.
     22            Ma           IP Address records for Filings from Castro’s home                                                                                                 
     23            Ma           Castro PTIN Application and Renewal records                                                                                                       
     24            Ma           CCH records                                                                                                                                       
     25            Ma           Castro Laptop                                                                                                                                     
     26            Ma           Castro & Co Application for EFIN #596507                                                                                                          
     27            Ma           Castro & Co Application for EFIN #503328                                                                                                          
     28            Ma           SmartVault records (excel file)                                                                                                                   
  Emails from Castro to Agents and Prosecutors
     31            Ma           January 5, 2022 Email from Castro to Ma (5:48 pm) (2 pages)                                                                                       
     32            Ma           January 5, 2022 Email from Castro to Ma (7:15 pm) (5 pages)                                                                                       
     33            Ma           January 6, 2022 Email from Castro to Ma (3:34 pm)                                                                                                 
     34            Ma           January 7, 2022 Email from Castro to Ma and Bratt (6:28 pm)                                                                                       
     35            Ma           January 12, 2022 Email from Castro to Ma and Bratt (3:28 pm)                                                                                      
     36            Ma           January 12, 2022 Email from Castro Bratt and Ma (3:44 pm)                                                                                         
     38            Ma           January 17, 2022 Email from Castro to Bratt and Ma (7:24 pm) (6 pages)                                                                            
     39            Ma           January 18, 2022 Email from Castro to Bratt and Ma (6:53 pm) (3 pages)                                                                            
     40            Ma           January 18, 2022 Email from Castro to Bratt and Ma (11:37 am)                                                                                     
     41            Ma           January 18, 2022 Email from Castro to Bratt (2:52 pm)                                                                                             
  Bank Records
     46            Ma           Bank of America Account 4868 (January 2015 to August 2018)                                                                                        
     47            Ma           Bank of America Account 4868 (October 2018 to September 2020)                                                                                     
     48            Ma           Chase Account 5951 (February 2017 to September 2018)                                                                                              
     49            Ma           Chase Account 5951 (October 2018 to September 2020)                                                                                               



* The parties have stipulated that Government Exhibits 1-16, 21-27, 31-41, 46-55, 81-407, 434-466, and 467-480 are authentic and will not challenge thier admission under FRE 901(A).
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               Sponsoring
   Ex. #        Witness
                                Description of Exhibit                                                                                Identified         Offered               Admitted

     50            Ma           Chase Account 1523 (May 2018)                                                                                                                     
     51            Ma           Chase Account 7539 (May 2018)                                                                                                                     
     52            Ma           Chase Account 5976 (March 2018)                                                                                                                   
     53            Ma           Chase Account 5976 Transactions (December 2018 – July 2020)                                                                                       
     54            Ma           Chase Account 1797 (April 2018)                                                                                                                   
     55            Ma           Chase Account 1797 Transactions (December 2018 – August 2020)                                                                                     
  Summary Charts
     56            Ma           Summary Chart of Allocation of Refunds                                                                                                            
     57         Wieborg         Summary Chart of Tax Loss by Counts                                                                                                               
     58       Ma/Wieborg        Summary Chart of Counts with Underlying Issues                                                                                                    
     59            Ma           Summary Chart of IP Address records                                                                                                               
     60         Lampkin         Summary for Ahmad Lampkin                                                                                                                         
     61           Meyer         Summary for John and Kelley Meyer                                                                                                                 
     62            Natt         Summary for Michael and Angelita Natt                                                                                                             
     63         Ragsdale        Summary for Randolph and Robin Ragsdale                                                                                                           
     64          Rivera         Summary for Linda Rivera                                                                                                                          
     65           Putica        Summary for Michael and Mirjana Putica                                                                                                            
  IRS Tax Calculations for Each Victim
     66         Wieborg         Criminal Tax Computations for Claytons                                                                                                            
     67         Wieborg         Criminal Tax Computations for Boggs and Fifi-Boggs                                                                                                
     68         Wieborg         Criminal Tax Computations for Rivera                                                                                                              
     69         Wieborg         Criminal Tax Computations for Karavangelos                                                                                                        
     70         Wieborg         Criminal Tax Computations for Ragsdale                                                                                                            
     71         Wieborg         Criminal Tax Computations for Solas                                                                                                               
     72         Wieborg         Criminal Tax Computations for Zilinskis                                                                                                           
     73         Wieborg         Criminal Tax Computations for Meyers                                                                                                              
     74         Wieborg         Criminal Tax Computations for Wells                                                                                                               



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               Sponsoring
   Ex. #        Witness
                                Description of Exhibit                                                                                Identified         Offered               Admitted

     75         Wieborg         Criminal Tax Computations for Quigleys                                                                                                            
     76         Wieborg         Criminal Tax Computations for Puticas                                                                                                             
     77         Wieborg         Criminal Tax Computations for Natts                                                                                                               
     78         Wieborg         Criminal Tax Computations for Lampkin                                                                                                             
     79         Wieborg         Criminal Tax Computations for Ramos                                                                                                               
     80         Wieborg         Criminal Tax Computations for Turatti                                                                                                             
  Records related to Victim “Angela Jackson”
     81          Johnson        2017 Form 1040 for Angela Jackson (31 pages)                                                        (Admission stipulated by parties. See Dkt. No. 44.)

     82          Johnson        Summary Chart related to Jackson                                                                                                                  
     85          Johnson        February 1, 2018 Message from Jackson to Castro & Co. (9:45 am)                                                                                   
     86          Johnson        February 1, 2018 Message from Castro & Co. to Castro (9:45 am)                                                                                    
     87          Johnson        February 1, 2018 Message from Castro to Castro (11:39 am)                                                                                         
     88          Johnson        February 1, 2018 Message from Castro & Co. to Jackson (7:02 pm)                                                                                   
     89          Johnson        February 1, 2018 Message from Jackson to Castro & Co. (8:19 pm)                                                                                   
     90          Johnson        February 2, 2018 Message from Castro & Co. to Jackson (10:01 am)                                                                                  
     91          Johnson        February 5, 2018 Message from Jackson to Castro & Co. (1:07 pm)                                                                                   
     92          Johnson        February 5, 2018 Message from Castro & Co. to Jackson (2:21 pm)                                                                                   
     93          Johnson        Recording of 2/13/2018 Conversation between Jackson and Castro                                                                                    
     94          Johnson        Transcript of 2/13/2020 Conversation between Jackson and Castro                                                                                   
     95          Johnson        February 14, 2018 Message from Castro & Co. to Jackson (12:18 pm)                                                                                 
     96          Johnson        February 15, 2018 Message from Castro & Co. to Jackson (2:37 pm)                                                                                  
     97          Johnson        February 15, 2018 Message from Jackson to Castro & Co. (4:00 pm)                                                                                  
     98          Johnson        February 15, 2018 Message from Castro & Co. to Jackson (4:28 pm)                                                                                  
     99          Johnson        February 15, 2018 Message from Castro & Co. to Jackson (4:28 pm)                                                                                  
    100          Johnson        Recording of 3/2/2018 Conversation between Jackson and Ishmael Garza                                                                              
    101          Johnson        Transcript of 3/2/2018 Conversation between Jackson and Ishmael Garza                                                                             
    102          Johnson        March 12, 2018 Message from Castro to Jackson (1:04 am)                                                                                           



* The parties have stipulated that Government Exhibits 1-16, 21-27, 31-41, 46-55, 81-407, 434-466, and 467-480 are authentic and will not challenge thier admission under FRE 901(A).
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               Sponsoring
   Ex. #        Witness
                                Description of Exhibit                                                                                Identified         Offered               Admitted

    103          Johnson        2017 Tax Proposal from Castro to Jackson, dated March 12, 2018 (2 pages)                                                                          
    104          Johnson        March 14, 2018 Message from Jackson to Castro (2:22 pm)                                                                                           
    105          Johnson        March 14, 2018 Message from Castro & Co. to Jackson (2:23 pm)                                                                                     
    106          Johnson        March 14, 2018 Message from Castro & Co. to Jackson (4:57 pm)                                                                                     
  Records related to Victims Paul and Alissa Clayton
    108          Clayton        Clayton’s 2017 Taxes, as filed by Castro (49 pages)                                                 (Admission stipulated by parties. See Dkt. No. 36.)

    109          Clayton        2017 Tax Interview Packet (33 pages)                                                                (Admission stipulated by parties. See Dkt. No. 36.)

    110          Clayton        May 22, 2017 Email from Clayton to Castro (11:27 am)                                                (Admission stipulated by parties. See Dkt. No. 36.)

    111          Clayton        April 1, 2018 Email from Castro to Clayton (5:45 am)                                                (Admission stipulated by parties. See Dkt. No. 36.)

    112          Clayton        May 29, 2018 Email from Castro employee to Clayton (3:38 pm)                                        (Admission stipulated by parties. See Dkt. No. 36.)

    113            Ma           Tax Transcript for Clayton 2017 Taxes                                                               (Admission stipulated by parties. See Dkt. No. 36.)
  Records related to Victims James Boggs and Frances Fifis-Boggs
    114        Fifi-Boggs       Boggs & Fifis-Boggs 2017 Taxes, as filed by Castro (42 pages)                                       (Admission stipulated by parties. See Dkt. No. 36.)

    115        Fifi-Boggs       Boggs & Fifis-Boggs 2018 Taxes, as filed by Castro (43 pages)                                       (Admission stipulated by parties. See Dkt. No. 36.)

    116        Fifi-Boggs       Boggs & Fifis-Boggs 2019 Taxes, as filed by Castro (34 pages)                                       (Admission stipulated by parties. See Dkt. No. 36.)

    117        Fifi-Boggs       March 5, 2018 Email from Castro to Boggs & Fifis-Boggs                                              (Admission stipulated by parties. See Dkt. No. 36.)

    118        Fifi-Boggs       2017 Tax Proposal (2 pages)                                                                         (Admission stipulated by parties. See Dkt. No. 36.)

    119        Fifi-Boggs       Business Expenses provided by Boggs & Fifis-Boggs to Castro, 2017-2019 (4 pages) (Admission stipulated by parties. See Dkt. No. 36.)
    120        Fifi-Boggs       April 14, 2019 Email from Castro to Boggs & Fifis-Boggs                                             (Admission stipulated by parties. See Dkt. No. 36.)

    121        Fifi-Boggs       2018 Tax Proposal (2 pages)                                                                         (Admission stipulated by parties. See Dkt. No. 36.)

    122        Fifi-Boggs       April 14, 2020 Email from Castro employee to Boggs & Fifis-Boggs                                    (Admission stipulated by parties. See Dkt. No. 36.)

    123        Fifi-Boggs       2019 Tax Proposal (2 pages)                                                                         (Admission stipulated by parties. See Dkt. No. 36.)

    124        Fifi-Boggs       March 25, 2021 Email from Castro to Boggs & Fifis-Boggs                                             (Admission stipulated by parties. See Dkt. No. 36.)

    125        Fifi-Boggs       September 29, 2021 Email from Castro to Boggs & Fifis-Boggs                                         (Admission stipulated by parties. See Dkt. No. 36.)

    126        Fifi-Boggs       October 4, 2021 Email from Castro to Boggs & Fifis-Boggs                                            (Admission stipulated by parties. See Dkt. No. 36.)

    127        Fifi-Boggs       October 22, 2021 Email from Castro to Boggs & Fifis-Boggs                                           (Admission stipulated by parties. See Dkt. No. 36.)

    128            Ma           Tax Transcript for Boggs and Fifi-Boggs 2017 Taxes                                                  (Admission stipulated by parties. See Dkt. No. 36.)



* The parties have stipulated that Government Exhibits 1-16, 21-27, 31-41, 46-55, 81-407, 434-466, and 467-480 are authentic and will not challenge thier admission under FRE 901(A).
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               Sponsoring
   Ex. #        Witness
                                Description of Exhibit                                                                                Identified         Offered               Admitted

    129            Ma           Tax Transcript for Boggs and Fifi-Boggs 2018 Taxes                                                  (Admission stipulated by parties. See Dkt. No. 36.)

    130            Ma           Tax Transcript for Boggs and Fifi-Boggs 2019 Taxes                                                  (Admission stipulated by parties. See Dkt. No. 36.)
  Records related to Victim Linda Rivera
    131          Rivera         Rivera 2017 Taxes, as filed by Castro (38 pages)                                                    (Admission stipulated by parties. See Dkt. No. 36.)

    132          Rivera         Rivera 2018 Taxes, as filed by Castro (35 pages)                                                    (Admission stipulated by parties. See Dkt. No. 36.)

    133          Rivera         Rivera 2019 Taxes, as filed by Castro (35 pages)                                                    (Admission stipulated by parties. See Dkt. No. 36.)

    134          Rivera         2017 Tax Interview Packet for Rivera (33 pages)                                                     (Admission stipulated by parties. See Dkt. No. 36.)

    135          Rivera         2018 Tax Interview Packet for Rivera (29 pages)                                                     (Admission stipulated by parties. See Dkt. No. 36.)

    136          Rivera         2019 AI Tax Interview for Rivera (22 pages)                                                         (Admission stipulated by parties. See Dkt. No. 36.)

    137          Rivera         Client info sheet for Rivera for 2018 (2 pages)                                                     (Admission stipulated by parties. See Dkt. No. 36.)

    138          Rivera         Spreadsheets of Rivera 2017 business income and expenses                                            (Admission stipulated by parties. See Dkt. No. 36.)

    139          Rivera         March 22, 2019 Email from Castro to Rivera (12:55 am)                                               (Admission stipulated by parties. See Dkt. No. 36.)

    140          Rivera         February 29, 2020 Email from Castro to Rivera (4:04 pm)                                             (Admission stipulated by parties. See Dkt. No. 36.)

    141            Ma           Tax Transcript for Rivera 2017 Taxes                                                                (Admission stipulated by parties. See Dkt. No. 36.)

    142            Ma           Tax Transcript for Rivera 2018 Taxes                                                                (Admission stipulated by parties. See Dkt. No. 36.)

    143            Ma           Tax Transcript for Rivera 2019 Taxes                                                                (Admission stipulated by parties. See Dkt. No. 36.)
  Records related to Victims Christian and Ciara Karavangelos
    144      Karavangelos Karavangelos 2017 Taxes, as filed by Castro (37 pages)                                                    (Admission stipulated by parties. See Dkt. No. 36.)

    145      Karavangelos Karavangelos 2018 Taxes, as filed by Castro (55 pages)                                                    (Admission stipulated by parties. See Dkt. No. 36.)

    146      Karavangelos Karavangelos 2019 Taxes, as filed by Castro (50 pages)                                                    (Admission stipulated by parties. See Dkt. No. 36.)

    147      Karavangelos 2017 Tax Interview Packet for Karavangelos (33 pages)                                                     (Admission stipulated by parties. See Dkt. No. 36.)

    148      Karavangelos 2018 Tax Interview Packet for Karavangelos (29 pages)                                                     (Admission stipulated by parties. See Dkt. No. 36.)

    149      Karavangelos 2019 AI Tax Interview for Karavangelos (7 pages)                                                          (Admission stipulated by parties. See Dkt. No. 36.)

    150      Karavangelos Client info sheet for Karavangelos for 2017 (3 pages)                                                     (Admission stipulated by parties. See Dkt. No. 36.)

    151      Karavangelos Spreadsheets of Karavangelos business income and expenses                                                 (Admission stipulated by parties. See Dkt. No. 36.)

    152      Karavangelos 2017 Tax Letter from Castro to Karavangelos                                                               (Admission stipulated by parties. See Dkt. No. 36.)

    153      Karavangelos 2018 Tax Letter from Castro to Karavangelos                                                               (Admission stipulated by parties. See Dkt. No. 36.)



* The parties have stipulated that Government Exhibits 1-16, 21-27, 31-41, 46-55, 81-407, 434-466, and 467-480 are authentic and will not challenge thier admission under FRE 901(A).
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               Sponsoring
   Ex. #        Witness
                                Description of Exhibit                                                                                Identified         Offered               Admitted

    154      Karavangelos April 6, 2017 Email from Castro to Karavangelos                                                           (Admission stipulated by parties. See Dkt. No. 36.)

    155      Karavangelos April 6, 2017 Email from Karavangelos to Castro                                                           (Admission stipulated by parties. See Dkt. No. 36.)

    156      Karavangelos April 12, 2017 Email from Castro to Karavangelos                                                          (Admission stipulated by parties. See Dkt. No. 36.)

    157      Karavangelos April 12, 2017 Email from Karavangelos to Castro                                                          (Admission stipulated by parties. See Dkt. No. 36.)

    158      Karavangelos March 23, 2018 Email from Castro to Karavangelos                                                          (Admission stipulated by parties. See Dkt. No. 36.)

    159      Karavangelos March 24, 2018 Email from Karavangelos to Castro                                                          (Admission stipulated by parties. See Dkt. No. 36.)

    160      Karavangelos March 17, 2019 Email from Castro to Karavangelos                                                          (Admission stipulated by parties. See Dkt. No. 36.)

    161      Karavangelos March 18, 2019 Email from Karavangelos to Castro                                                          (Admission stipulated by parties. See Dkt. No. 36.)

    162      Karavangelos March 18, 2019 Email from Hunt to Karavangelos                                                            (Admission stipulated by parties. See Dkt. No. 36.)

    163      Karavangelos March 18, 2019 Email from Karavangelos to Hunt                                                            (Admission stipulated by parties. See Dkt. No. 36.)

    164      Karavangelos March 18, 2019 Email from Hunt to Karavangelos                                                            (Admission stipulated by parties. See Dkt. No. 36.)

    165      Karavangelos April 2, 2020 Email from Castro to Karavangelos                                                           (Admission stipulated by parties. See Dkt. No. 36.)

    166      Karavangelos April 3, 2020 Email from Karavangelos to Castro                                                           (Admission stipulated by parties. See Dkt. No. 36.)

    167      Karavangelos March 19, 2021 Email from Castro & Co. to Karavangelos                                                    (Admission stipulated by parties. See Dkt. No. 36.)

    168            Ma           Tax Transcript for Karavangelos 2017 Taxes                                                          (Admission stipulated by parties. See Dkt. No. 36.)

    169            Ma           Tax Transcript for Karavangelos 2018 Taxes                                                          (Admission stipulated by parties. See Dkt. No. 36.)

    170            Ma           Tax Transcript for Karavangelos 2019 Taxes                                                          (Admission stipulated by parties. See Dkt. No. 36.)
  Records related to Victims Randolph and Robin Ragsdale
    171         Ragsdale        Ragsdale 2017 Taxes, as filed by Castro (31 pages)                                                  (Admission stipulated by parties. See Dkt. No. 44.)

    172         Ragsdale        Ragsdale 2018 Taxes, as filed by Castro (55 pages)                                                  (Admission stipulated by parties. See Dkt. No. 44.)

    173         Ragsdale        Ragsdale 2019 Taxes, as filed by Castro (61 pages)                                                  (Admission stipulated by parties. See Dkt. No. 44.)

    177         Ragsdale        Client info sheet for Ragsdale for 2017 (3 pages)                                                                                                 
    183         Ragsdale        Ragsdale personal income and expenses prepared by Ragsdale (2017) (2 pages)                                                                       
    186         Ragsdale        IRS Letter dated May 24, 2020 (11 pages)                                                                                                          
    191         Ragsdale        March 16, 2018 Email from Castro to Ragsdale (3:44 pm)                                                                                            
    194         Ragsdale        April 1, 2021 Email from Ragsdale to Castro Employee (2:44 pm)                                                                                    
  Records related to Victim Javier and Betsy Sola



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               Sponsoring
   Ex. #        Witness
                                Description of Exhibit                                                                                Identified         Offered               Admitted

    204            Sola         Sola’s 2017 Taxes, as filed by Castro (54 pages)                                                    (Admission stipulated by parties. See Dkt. No. 36.)

    205            Sola         Sola’s 2018 Taxes, as filed by Castro (64 pages)                                                    (Admission stipulated by parties. See Dkt. No. 36.)

    206            Sola         Sola’s 2019 Taxes, as filed by Castro (59 pages)                                                    (Admission stipulated by parties. See Dkt. No. 36.)

    207            Sola         2017 Client Info sheet for Sola (3 pages)                                                           (Admission stipulated by parties. See Dkt. No. 36.)

    208            Sola         2017 Tax Interview Packet (32 pages)                                                                (Admission stipulated by parties. See Dkt. No. 36.)

    209            Sola         2018 Tax Interview Packet (29 pages)                                                                (Admission stipulated by parties. See Dkt. No. 36.)

    210            Sola         Second 2018 Tax Interview Packet (30 pages)                                                         (Admission stipulated by parties. See Dkt. No. 36.)

    211            Sola         2017 Underlying documents provided by Sola (51 pages)                                               (Admission stipulated by parties. See Dkt. No. 36.)

    212            Sola         2018 Underlying documents provided by Sola (1 page)                                                 (Admission stipulated by parties. See Dkt. No. 36.)

    213            Sola         2019 Underlying documents provided by Sola (46 pages)                                               (Admission stipulated by parties. See Dkt. No. 36.)

    214            Sola         Spreadsheet of Sola 2019 Business Income and Expenses                                               (Admission stipulated by parties. See Dkt. No. 36.)

    215            Sola         February 7, 2018 Email from Castro to Sola (11:40 pm)                                               (Admission stipulated by parties. See Dkt. No. 36.)

    216            Sola         February 21, 2019 Email from Sola to Castro (8:44 am)                                               (Admission stipulated by parties. See Dkt. No. 36.)

    217            Sola         February 11, 2020 Email from Sola to Castro employee (8:16 pm)                                      (Admission stipulated by parties. See Dkt. No. 36.)

    218            Sola         February 15, 2020 Email from Castro employee to Sola (5:46 pm)                                      (Admission stipulated by parties. See Dkt. No. 36.)

    219            Sola         February 19, 2020 Email from Sola to Castro (6:17 pm)                                               (Admission stipulated by parties. See Dkt. No. 36.)

    220            Sola         December 30, 2021 Email from Castro to Sola (9:39 pm)                                               (Admission stipulated by parties. See Dkt. No. 36.)

    221            Ma           Tax Transcript for Solas for 2017                                                                   (Admission stipulated by parties. See Dkt. No. 36.)

    222            Ma           Tax Transcript for Solas for 2018                                                                   (Admission stipulated by parties. See Dkt. No. 36.)

    223            Ma           Tax Transcript for Solas for 2019                                                                   (Admission stipulated by parties. See Dkt. No. 36.)
  Records related to Victims Joseph and Kelley Zilinski
    224          Zilinski       Zilinski’s 2017 Taxes, as filed by Castro (38 pages)                                                (Admission stipulated by parties. See Dkt. No. 36.)

    225          Zilinski       Zilinski’s 2018 Taxes, as filed by Castro (57 pages)                                                (Admission stipulated by parties. See Dkt. No. 36.)

    226          Zilinski       Zilinski’s 2019 Taxes, as filed by Castro (44 pages)                                                (Admission stipulated by parties. See Dkt. No. 36.)

    227          Zilinski       2017 Client Info sheet for Zilinski (3 pages)                                                       (Admission stipulated by parties. See Dkt. No. 36.)

    228          Zilinski       2017 Tax Interview Packet for Zilinski (33 pages)                                                   (Admission stipulated by parties. See Dkt. No. 36.)

    229          Zilinski       2018 Tax Interview Packet for Zilinski (29 Pages)                                                   (Admission stipulated by parties. See Dkt. No. 36.)



* The parties have stipulated that Government Exhibits 1-16, 21-27, 31-41, 46-55, 81-407, 434-466, and 467-480 are authentic and will not challenge thier admission under FRE 901(A).
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               Sponsoring
   Ex. #        Witness
                                Description of Exhibit                                                                                Identified         Offered               Admitted

    230          Zilinski       2019 AI Tax Interview for Zilinski (22 Pages)                                                       (Admission stipulated by parties. See Dkt. No. 36.)

    231          Zilinski       April 22, 2019 Email from Castro & Co to Zilinski (12:22 pm)                                        (Admission stipulated by parties. See Dkt. No. 36.)

    232          Zilinski       March 22, 2021 Email from Castro to Zilinski (4:51 pm)                                              (Admission stipulated by parties. See Dkt. No. 36.)

    233          Zilinski       April 12, 2021 Email from Castro employee to Zilinski (1:54 pm)                                     (Admission stipulated by parties. See Dkt. No. 36.)

    234          Zilinski       April 26, 2021 Email from Castro employee to Zilinski (3:20 pm)                                     (Admission stipulated by parties. See Dkt. No. 36.)

    235          Zilinski       June 24, 2021 Email from Zilinski to Castro (2:18 pm)                                               (Admission stipulated by parties. See Dkt. No. 36.)

    236          Zilinski       June 30, 2021 Email from Castro & Co to Zilinski (10:48 am)                                         (Admission stipulated by parties. See Dkt. No. 36.)

    237          Zilinski       October 12, 2021 Email from Castro & Co to Zilinski (5:07 pm)                                       (Admission stipulated by parties. See Dkt. No. 36.)

    238          Zilinski       October 14, 2021 Email from Castro to Zilinski (11:45 am)                                           (Admission stipulated by parties. See Dkt. No. 36.)

    239          Zilinski       October 14, 2021 Email from Castro & Co to Zilinski (5:18 pm)                                       (Admission stipulated by parties. See Dkt. No. 36.)

    240          Zilinski       October 27, 2021 Email from Zilinski to Castro (10:12 am)                                           (Admission stipulated by parties. See Dkt. No. 36.)

    241          Zilinski       December 22, 2021 Email from Zilinski to Castro employee (1:41 pm)                                  (Admission stipulated by parties. See Dkt. No. 36.)

    242          Zilinski       January 26, 2022 Email from Zilinski to Castro employee (3:16 pm)                                   (Admission stipulated by parties. See Dkt. No. 36.)

    243            Ma           Tax Transcript for Zilinskis for 2017                                                               (Admission stipulated by parties. See Dkt. No. 36.)

    244            Ma           Tax Transcript for Zilinskis for 2018                                                               (Admission stipulated by parties. See Dkt. No. 36.)

    245            Ma           Tax Transcript for Zilinskis for 2019                                                               (Admission stipulated by parties. See Dkt. No. 36.)

  Records related to Victims John and Kelley Meyer
    246           Meyer         Meyer’s 2017 Taxes, as filed by Castro (53 pages)                                                   (Admission stipulated by parties. See Dkt. No. 44.)

    252           Meyer         January 24, 2019 Email from Castro to Meyer (7:45 pm)                                                                                             
    253           Meyer         February 2, 2019 Text Messages from Castro to Meyer (11:41 am)                                                                                    
    254           Meyer         February 20, 2019 Email from Castro to Kasper (1:39 pm)                                                                                           
  Records related to Victim Crystal Wells
    256           Wells         Wells 2017 Taxes, as filed by Castro (31 pages)                                                     (Admission stipulated by parties. See Dkt. No. 36.)

    257           Wells         Wells 2018 Taxes, as filed by Castro (43 pages)                                                     (Admission stipulated by parties. See Dkt. No. 36.)

    258           Wells         Wells 2019 Taxes, as filed by Castro (43 pages)                                                     (Admission stipulated by parties. See Dkt. No. 36.)

    259           Wells         2017 Tax Interview Packet for Wells (31 pages)                                                      (Admission stipulated by parties. See Dkt. No. 36.)

    260           Wells         2018 Tax Interview Packet for Wells (29 pages)                                                      (Admission stipulated by parties. See Dkt. No. 36.)



* The parties have stipulated that Government Exhibits 1-16, 21-27, 31-41, 46-55, 81-407, 434-466, and 467-480 are authentic and will not challenge thier admission under FRE 901(A).
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               Sponsoring
   Ex. #        Witness
                                Description of Exhibit                                                                                Identified         Offered               Admitted

    261           Wells         2019 AI Tax Interview for Wells (7 pages)                                                           (Admission stipulated by parties. See Dkt. No. 36.)

    262            Ma           Tax Transcript for Wells for 2017                                                                   (Admission stipulated by parties. See Dkt. No. 36.)

    263            Ma           Tax Transcript for Wells for 2018                                                                   (Admission stipulated by parties. See Dkt. No. 36.)

    264            Ma           Tax Transcript for Wells for 2019                                                                   (Admission stipulated by parties. See Dkt. No. 36.)
  Records related to Victims Brian and Kimberly Quigley
    265          Quigley        Quigley’s 2017 Taxes, as filed by Castro (39 pages)                                                 (Admission stipulated by parties. See Dkt. No. 36.)

    266          Quigley        Completed 2017 client form submitted by Castro to Quigleys (3 pages)                                (Admission stipulated by parties. See Dkt. No. 36.)

    267          Quigley        2017 Tax Interview Packet for Quigleys (31 pages)                                                   (Admission stipulated by parties. See Dkt. No. 36.)

    268          Quigley        Documents provided by Quigleys to Castro (68 pages)                                                 (Admission stipulated by parties. See Dkt. No. 36.)

    269          Quigley        Email from Castro & Co. to Quigleys, dated January 31, 2018 (7:51 pm)                               (Admission stipulated by parties. See Dkt. No. 36.)

    270          Quigley        Email from Quigleys to Castro, dated February 1, 2018 (8:31 pm)                                     (Admission stipulated by parties. See Dkt. No. 36.)

    271          Quigley        Email from Castro to Quigleys, dated February 1, 2018 (8:59 pm)                                     (Admission stipulated by parties. See Dkt. No. 36.)

    272          Quigley        Email from Castro to Quigleys, dated February 1, 2018 (10:08 pm)                                    (Admission stipulated by parties. See Dkt. No. 36.)

    273          Quigley        Email from Quigleys to Castro, dated February 1, 2018 (10:34 pm)                                    (Admission stipulated by parties. See Dkt. No. 36.)

    274          Quigley        Email from Castro to Quigleys dated February 2, 2018 (5:59 pm)                                      (Admission stipulated by parties. See Dkt. No. 36.)

    275          Quigley        Email from Castro to Quigleys, dated February 7, 2018 (2:37 pm)                                     (Admission stipulated by parties. See Dkt. No. 36.)

    276          Quigley        February 7, 2018 Tax proposal from Castro to Quigley                                                (Admission stipulated by parties. See Dkt. No. 36.)

    277          Quigley        Email from Quigleys to Castro, dated February 7, 2018 (3:14 pm)                                     (Admission stipulated by parties. See Dkt. No. 36.)

    278          Quigley        Email from Quigleys to Castro dated April 18, 2018 (4:38 pm)                                        (Admission stipulated by parties. See Dkt. No. 36.)

    279          Quigley        Email from Castro to Quigleys dated April 25, 2018 (3:58 pm)                                        (Admission stipulated by parties. See Dkt. No. 36.)

    280          Quigley        Email from the Quigleys to Castro, dated June 20, 2018 (3:47 p.m.)                                  (Admission stipulated by parties. See Dkt. No. 36.)

    281            Ma           Tax Transcript for Quigley for 2018                                                                 (Admission stipulated by parties. See Dkt. No. 36.)
  Records related to Victims Michael and Mirjana Putica
    282           Putica        Putica’s 2019 Taxes, as filed by Castro (77 pages)                                                  (Admission stipulated by parties. See Dkt. No. 44.)

    284           Putica        Rental Income and Expenses provided by Putica                                                                                                     
    285           Putica        Client info form                                                                                                                                  
    286           Putica        Schedule C Income and Expenses                                                                                                                    



* The parties have stipulated that Government Exhibits 1-16, 21-27, 31-41, 46-55, 81-407, 434-466, and 467-480 are authentic and will not challenge thier admission under FRE 901(A).
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               Sponsoring
   Ex. #        Witness
                                Description of Exhibit                                                                                Identified         Offered               Admitted

    287           Putica        March 24, 2020 Email from Castro Employee to Putica (4:26 pm)                                                                                     
    288           Putica        March 25, 2020 Email from Putica to Castro Employee (11:17 am)                                                                                    
    289           Putica        June 26, 2020 Email from Putica to Castro Employee (11:35 pm)                                                                                     
    290           Putica        July 29, 2020 Email from Castro to Putica (4:16 pm)                                                                                               
    291           Putica        January 8, 2021 Email from Castro to Putica (11:55 am)                                                                                            
    292           Putica        Form 14157-A Preparer Fraud Form submitted by Putica (110 pages)                                                                                  
    293            N/A          Tax Proposal letter dated April 11, 2020                                                                                                          
  Records related to Victims Michael and Angelita Natt
    297            Natt         Natt 2017 Taxes, as filed by Castro (47 pages)                                                      (Admission stipulated by parties. See Dkt. No. 44.)

    298            Natt         Natt 2017 Amended Taxes, as filed by Castro (24 pages)                                              (Admission stipulated by parties. See Dkt. No. 44.)

    301            Natt         Email from Natt to Castro dated August 1, 2018                                                                                                    
    302            Natt         Email from Castro employee to Natt, dated August 1, 2018                                                                                          
    303            Natt         Email from Natt to Castro dated August 15, 2018                                                                                                   
    304            Natt         Email from Castro to Natt dated September 2, 2018                                                                                                 
    305            Natt         Instant Messages between Castro employees regarding Natt                                                                                          
    306            Natt         September 25, 2018 Email from Natt to Castro                                                                                                      
    307            Natt         Natt’s 2017 Tax Return Comments and Questions (3 pages)                                                                                           
    308            Natt         November 8, 2018 Email from Hunt to Castro                                                                                                        
    309            Natt         November 8, 2018 Email from Castro to Hunt                                                                                                        
    310            Natt         November 28, 2018 Email from Castro to Natt                                                                                                       
    311            Natt         Castro feedback to Natt’s Comments for 2017 Tax Return Comments and Questions                                                                     
    312            Natt         January 15, 2019 Email from Natt to Castro                                                                                                        
    313            Natt         March 5, 2019 Email Exchange between Natt and Castro                                                                                              
    314            Natt         Instant messages between Castro employees                                                                                                         
    315            Natt         April 3, 2019 Email from Castro to A. Garza re: instant messages                                                                                  
    316            Natt         April 3, 2019 Email from Castro & Co. to Natt                                                                                                     
    317            Natt         May 2, 2019 Email from Natt to Castro & Co.                                                                                                       



* The parties have stipulated that Government Exhibits 1-16, 21-27, 31-41, 46-55, 81-407, 434-466, and 467-480 are authentic and will not challenge thier admission under FRE 901(A).
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               Sponsoring
   Ex. #        Witness
                                Description of Exhibit                                                                                Identified         Offered               Admitted

    318            Natt         May 2, 2019 Email from Castro to Castro Employee                                                                                                  
    320            Natt         May 8, 2019 Email from Natt to Castro                                                                                                             
    321            Natt         May 9, 2019 Email from Castro & Co. to Natt                                                                                                       
    322            Natt         July 29, 2021 Email from Natt to Castro & Co.                                                                                                     
    323            Natt         January 30, 2021 Email from Castro & Co. to Natt                                                                                                  
    324            Natt         Underlying documents provided by Natt (24 pages)                                                                                                  
  Records related to Victim Ahmad Lampkin
    326         Lampkin         Lampkin 2017 Taxes, as filed by Castro (23 pages)                                                   (Admission stipulated by parties. See Dkt. No. 44.)

    327         Lampkin         Lampkin Amended 2017 Taxes, as filed by Castro (9 pages)                                            (Admission stipulated by parties. See Dkt. No. 44.)

    328         Lampkin         Lampkin 2018 Taxes, as filed by Castro (31 pages)                                                   (Admission stipulated by parties. See Dkt. No. 44.)

    329         Lampkin         Lampkin 2018 Amended Taxes, as filed by Castro (15 pages)                                           (Admission stipulated by parties. See Dkt. No. 44.)

    330         Lampkin         Form 14039 Identity Theft Form submitted by Lampkin (10 pages)                                                                                    
    332         Lampkin         Form 14157-A Preparer Fraud Form submitted by Lampkin (37 pages)                                                                                  
    341         Lampkin         June 14, 2016 Email from Lampkin to Castro (12:50 pm)                                                                                             
    342         Lampkin         March 5, 2018 Email from Castro to Castro Employee (3:28 pm)                                                                                      
    343         Lampkin         April 25, 2018 Email from Castro to Lampkin (10:36 pm)                                                                                            
    344         Lampkin         September 5, 2018 Email from Castro Employee to Lampkin (10:42 am)                                                                                
    346         Lampkin         March 30, 2019 Email from Lampkin to Castro Employee (3:17 pm)                                                                                    
    347         Lampkin         May 31, 2019 Email Lampkin to Castro (6:02 pm)                                                                                                    
    348         Lampkin         June 14, 2019 Email from Lampkin to Castro Employee (4:12 pm)                                                                                     
    350         Lampkin         June 20, 2019 Email from Lampkin to Castro (3:48 pm)                                                                                              
    351         Lampkin         June 25, 2019 Email from Lampkin to Castro (10:59 pm)                                                                                             
  Records related to Victim Fabio Ramos
    354          Ramos          Ramos 2019 Taxes, as filed by Castro (78 pages)                                                     (Admission stipulated by parties. See Dkt. No. 36.)

    355          Ramos          Client Info Form for 2019 (3 pages)                                                                 (Admission stipulated by parties. See Dkt. No. 36.)

    356          Ramos          Spreadsheet created by Ramos for business income and expenses                                       (Admission stipulated by parties. See Dkt. No. 36.)

    357          Ramos          Spreadsheet created by Ramos for rental income and expenses                                         (Admission stipulated by parties. See Dkt. No. 36.)



* The parties have stipulated that Government Exhibits 1-16, 21-27, 31-41, 46-55, 81-407, 434-466, and 467-480 are authentic and will not challenge thier admission under FRE 901(A).
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               Sponsoring
   Ex. #        Witness
                                Description of Exhibit                                                                                Identified         Offered               Admitted

    358          Ramos          Written Summary provided by Ramos                                                                   (Admission stipulated by parties. See Dkt. No. 36.)

    359          Ramos          July 7, 2020 Email from Castro & Co. to Ramos (11:59 am)                                            (Admission stipulated by parties. See Dkt. No. 36.)

    360          Ramos          July 7, 2020 Email from Castro & Co. to Ramos (2:22 pm)                                             (Admission stipulated by parties. See Dkt. No. 36.)

    361          Ramos          July 8, 2020 Email from Ramos to Castro & Co. (1:05 pm)                                             (Admission stipulated by parties. See Dkt. No. 36.)

    362          Ramos          July 8, 2020 Email from Castro & Co. to Ramos (3:03 pm)                                             (Admission stipulated by parties. See Dkt. No. 36.)

    363          Ramos          July 10, 2020 Email from Castro & Co. to Ramos (3:04 pm)                                            (Admission stipulated by parties. See Dkt. No. 36.)

    364          Ramos          July 10, 2020 Email from Castro & Co. to Ramos (7:37 pm)                                            (Admission stipulated by parties. See Dkt. No. 36.)

    365          Ramos          July 13, 2020 Email Castro & Co. to Ramos (3:41 pm)                                                 (Admission stipulated by parties. See Dkt. No. 36.)

    366          Ramos          July 13, 2020 Email from Castro & Co. to Ramos (5:38 pm)                                            (Admission stipulated by parties. See Dkt. No. 36.)

    367          Ramos          July 28, 2020 Email from Castro & Co. to Ramos (1:47 am)                                            (Admission stipulated by parties. See Dkt. No. 36.)

    368          Ramos          July 28, 2020 Email from Castro & Co. to Ramos (11:38 am)                                           (Admission stipulated by parties. See Dkt. No. 36.)

    369          Ramos          July 29 and July 30 Email Exchange between Ramos and Castro                                         (Admission stipulated by parties. See Dkt. No. 36.)

    370          Ramos          August 10, 2020 Email from Ramos to Castro (12:45 pm)                                               (Admission stipulated by parties. See Dkt. No. 36.)

    371          Ramos          October 1, 2020 Email from Ramos to Castro & Co. (08:10 pm)                                         (Admission stipulated by parties. See Dkt. No. 36.)

    372          Ramos          October 5, 2020 Email from Barnes to Ramos (11:31 am)                                               (Admission stipulated by parties. See Dkt. No. 36.)

    373          Ramos          AI Tax Questionnaire for Ramos (9 pages)                                                            (Admission stipulated by parties. See Dkt. No. 36.)

    374          Ramos          October 21, 2020 Email from Ramos to Barnes (3:12 pm)                                               (Admission stipulated by parties. See Dkt. No. 36.)

    375          Ramos          November 6, 2020 Email from Ramos to Barnes (12:10 pm)                                              (Admission stipulated by parties. See Dkt. No. 36.)

    377          Ramos          November 17, 2020 Email from Ramos to Castro & Co. (8:07 pm)                                        (Admission stipulated by parties. See Dkt. No. 36.)

    378          Ramos          December 8, 2020 Email from Humphreys to Ramos (12:36 pm)                                           (Admission stipulated by parties. See Dkt. No. 36.)

    379          Ramos          December 8, 2020 Email from Ramos to Humphreys (3:29 pm)                                            (Admission stipulated by parties. See Dkt. No. 36.)

    380          Ramos          December 9, 2020 Email from Ramos to Barnes and Garza (8:56 am)                                     (Admission stipulated by parties. See Dkt. No. 36.)

    381          Ramos          February 24, 2021 Email from Castro to Ramos and Garza (4:15 pm)                                    (Admission stipulated by parties. See Dkt. No. 36.)

    382          Ramos          February 24, 2021 Email from Garza to Ramos (4:32 pm)                                               (Admission stipulated by parties. See Dkt. No. 36.)

    383          Ramos          June 8, 2021 Email from Garza to Ramos (1:42 pm)                                                    (Admission stipulated by parties. See Dkt. No. 36.)

    384          Ramos          June 8, 2021 Email from Ramos to Garza (5:46 pm)                                                    (Admission stipulated by parties. See Dkt. No. 36.)

    385          Ramos          June 9, 2021 Email from Garza to Ramos (9:58 am)                                                    (Admission stipulated by parties. See Dkt. No. 36.)



* The parties have stipulated that Government Exhibits 1-16, 21-27, 31-41, 46-55, 81-407, 434-466, and 467-480 are authentic and will not challenge thier admission under FRE 901(A).
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               Sponsoring
   Ex. #        Witness
                                Description of Exhibit                                                                                Identified         Offered               Admitted

    386            Ma           Tax Transcript for Ramos for 2019                                                                   (Admission stipulated by parties. See Dkt. No. 36.)
  Records related to Victims Federico and Justine Turatti
    387          Turatti        Turatti 2017 Taxes, as filed by Castro (62 pages)                                                   (Admission stipulated by parties. See Dkt. No. 36.)

    388          Turatti        Turatti 2018 Taxes, as filed by Castro (63 pages)                                                   (Admission stipulated by parties. See Dkt. No. 36.)

    389          Turatti        Turatti 2019 Taxes, as filed by Castro (41 pages)                                                   (Admission stipulated by parties. See Dkt. No. 36.)

    390          Turatti        Turatti 2017 Amended Taxes, as filed by Dichter (38 pages)                                          (Admission stipulated by parties. See Dkt. No. 36.)

    391          Turatti        Turatti 2018 Amended Taxes, as filed by Dichter (21 pages)                                          (Admission stipulated by parties. See Dkt. No. 36.)

    392          Turatti        Turatti 2019 Amended Taxes, as filed by Dichter (22 pages)                                          (Admission stipulated by parties. See Dkt. No. 36.)

    393          Turatti        2017 Tax Proposal dated February 25, 2018 (2 pages)                                                 (Admission stipulated by parties. See Dkt. No. 36.)

    394          Turatti        2017 Tax Revised Proposal dated February 26, 2018 (2 pages)                                         (Admission stipulated by parties. See Dkt. No. 36.)

    395          Turatti        Second version of 2017 Tax Revised Proposal dated February 26, 2018 (2 pages)                       (Admission stipulated by parties. See Dkt. No. 36.)

    396          Turatti        2018 Tax Proposal (2 pages)                                                                         (Admission stipulated by parties. See Dkt. No. 36.)

    397          Turatti        2019 Tax Proposal (2 pages)                                                                         (Admission stipulated by parties. See Dkt. No. 36.)

    398          Turatti        2017 Client Info form for Turatti (3 pages)                                                         (Admission stipulated by parties. See Dkt. No. 36.)

    399          Turatti        2017 Tax Interview packet for Turatti (33 pages)                                                    (Admission stipulated by parties. See Dkt. No. 36.)

    400          Turatti        2018 Tax Interview packet for Turatti (29 pages)                                                    (Admission stipulated by parties. See Dkt. No. 36.)

    401          Turatti        2019 AI Tax Interview for Turatti (22 pages)                                                        (Admission stipulated by parties. See Dkt. No. 36.)

    402          Turatti        February 26, 2018 Email from Castro to Turatti (3:59 pm)                                            (Admission stipulated by parties. See Dkt. No. 36.)

    403          Turatti        February 26, 2018 Email from Castro to Turatti (8:43 pm)                                            (Admission stipulated by parties. See Dkt. No. 36.)

    404          Turatti        June 5, 2018 Email from Castro to Turatti (1:02 pm)                                                 (Admission stipulated by parties. See Dkt. No. 36.)

    405            Ma           Tax Transcript for Turattis for 2017                                                                (Admission stipulated by parties. See Dkt. No. 36.)

    406            Ma           Tax Transcript for Turattis for 2018                                                                (Admission stipulated by parties. See Dkt. No. 36.)

    407            Ma           Tax Transcript for Turattis for 2019                                                                (Admission stipulated by parties. See Dkt. No. 36.)
  Accountant Version of Taxes from Castro Software
    434          Jackson        Jackson 2017 Taxes (Accountant Version from Castro software)                                        (Admission stipulated by parties. See Dkt. No. 44.)

    435          Clayton        Clayton 2017 Taxes (Accountant Version from Castro software)                                        (Admission stipulated by parties. See Dkt. No. 44.)

    436           Boggs         Boggs 2017 Taxes (Accountant Version from Castro software)                                          (Admission stipulated by parties. See Dkt. No. 44.)



* The parties have stipulated that Government Exhibits 1-16, 21-27, 31-41, 46-55, 81-407, 434-466, and 467-480 are authentic and will not challenge thier admission under FRE 901(A).
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               Sponsoring
   Ex. #        Witness
                                Description of Exhibit                                                                                Identified         Offered               Admitted

    437           Boggs         Boggs 2018 Taxes (Accountant Version from Castro software)                                          (Admission stipulated by parties. See Dkt. No. 44.)

    438           Boggs         Boggs 2019 Taxes (Accountant Version from Castro software)                                          (Admission stipulated by parties. See Dkt. No. 44.)

    439          Rivera         Rivera 2017 Taxes (Accountant Version from Castro software)                                         (Admission stipulated by parties. See Dkt. No. 44.)

    440          Rivera         Rivera 2018 Taxes (Accountant Version from Castro software)                                         (Admission stipulated by parties. See Dkt. No. 44.)

    441          Rivera         Rivera 2019 Taxes (Accountant Version from Castro software)                                         (Admission stipulated by parties. See Dkt. No. 44.)

    442      Karavangelos Karavangelos 2017 Taxes (Accountant Version from Castro software)                                         (Admission stipulated by parties. See Dkt. No. 44.)

    443      Karavangelos Karavangelos 2018 Taxes (Accountant Version from Castro software)                                         (Admission stipulated by parties. See Dkt. No. 44.)

    444      Karavangelos Karavangelos 2019 Taxes (Accountant Version from Castro software)                                         (Admission stipulated by parties. See Dkt. No. 44.)

    445         Ragsdale        Ragsdale 2017 Taxes (Accountant Version from Castro software)                                       (Admission stipulated by parties. See Dkt. No. 44.)

    446         Ragsdale        Ragsdale 2018 Taxes (Accountant Version from Castro software)                                       (Admission stipulated by parties. See Dkt. No. 44.)

    447         Ragsdale        Ragsdale 2019 Taxes (Accountant Version from Castro software)                                       (Admission stipulated by parties. See Dkt. No. 44.)

    448            Sola         Sola 2017 Taxes (Accountant Version from Castro software)                                           (Admission stipulated by parties. See Dkt. No. 44.)

    449            Sola         Sola 2018 Taxes (Accountant Version from Castro software)                                           (Admission stipulated by parties. See Dkt. No. 44.)

    450            Sola         Sola 2019 Taxes (Accountant Version from Castro software)                                           (Admission stipulated by parties. See Dkt. No. 44.)

    451          Zilinski       Zilinski 2017 Taxes (Accountant Version from Castro software)                                       (Admission stipulated by parties. See Dkt. No. 44.)

    452          Zilinski       Zilinski 2018 Taxes (Accountant Version from Castro software)                                       (Admission stipulated by parties. See Dkt. No. 44.)

    453          Zilinski       Zilinski 2019 Taxes (Accountant Version from Castro software)                                       (Admission stipulated by parties. See Dkt. No. 44.)

    454           Meyer         Meyer 2017 Taxes (Accountant Version from Castro software)                                          (Admission stipulated by parties. See Dkt. No. 44.)

    455           Wells         Wells 2017 Taxes (Accountant Version from Castro software)                                          (Admission stipulated by parties. See Dkt. No. 44.)

    456           Wells         Wells 2018 Taxes (Accountant Version from Castro software)                                          (Admission stipulated by parties. See Dkt. No. 44.)

    457           Wells         Wells 2019 Taxes (Accountant Version from Castro software)                                          (Admission stipulated by parties. See Dkt. No. 44.)

    458          Quigley        Quigley 2017 Taxes (Accountant Version from Castro software)                                        (Admission stipulated by parties. See Dkt. No. 44.)

    459           Putica        Putica 2019 Taxes (Accountant Version from Castro software)                                         (Admission stipulated by parties. See Dkt. No. 44.)

    460            Natt         Natt 2017 Taxes (Accountant Version from Castro software)                                           (Admission stipulated by parties. See Dkt. No. 44.)

    461         Lampkin         Lampkin 2017 Taxes (Accountant Version from Castro software)                                        (Admission stipulated by parties. See Dkt. No. 44.)

    462         Lampkin         Lampkin 2018 Taxes (Accountant Version from Castro software)                                        (Admission stipulated by parties. See Dkt. No. 44.)

    463          Ramos          Ramos 2019 Taxes (Accountant Version from Castro software)                                          (Admission stipulated by parties. See Dkt. No. 44.)



* The parties have stipulated that Government Exhibits 1-16, 21-27, 31-41, 46-55, 81-407, 434-466, and 467-480 are authentic and will not challenge thier admission under FRE 901(A).
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               Sponsoring
   Ex. #        Witness
                                Description of Exhibit                                                                                Identified         Offered               Admitted

    464          Turatti        Turatti 2017 Taxes (Accountant Version from Castro software)                                        (Admission stipulated by parties. See Dkt. No. 44.)

    465          Turatti        Turatti 2018 Taxes (Accountant Version from Castro software)                                        (Admission stipulated by parties. See Dkt. No. 44.)

    466          Turatti        Turatti 2019 Taxes (Accountant Version from Castro software)                                        (Admission stipulated by parties. See Dkt. No. 44.)
  Additional Bank Records
    467            Ma           Chase Account 5036 (April 2018)                                                                                                                   
    468            Ma           Treasury Check Information System Payments Details for Karavangelos                                                                               
    469            Ma           Chase Account 1382 (May 2018)                                                                                                                     
    470            Ma           Chase Account 1382 Transactions (December 2018 – July 2020)                                                                                       
    471            Ma           Chase Account 6632 (March 2018)                                                                                                                   
    472            Ma           Chase Account 6632 Transactions (October 2018 – September 2020)                                                                                   
    473            Ma           Chase Account 8072 (April 2018)                                                                                                                   
    474            Ma           Chase Account 8072 Transactions (December 2018 – April 2020)                                                                                      
    475            Ma           Chase Account 3116 (April 2018)                                                                                                                   
    476            Ma           Chase Account 3116 Transactions (December 2018 – July 2020)                                                                                       
    477            Ma           Chase Account 5985 (March 2018)                                                                                                                   
    478            Ma           Chase Account 5901 (September 2020)                                                                                                               
    479            Ma           Treasury Check Information System Payment Details for Ramos (2020 & 2021)                                                                         
    480            Ma           Chase Account 3055 Transactions (December 2018 – August 2020)                                                                                     
    481            Ma           2018 Instructions for Schedule A                                                                                                                  
    482            Ma           IRS Publication 334 “Tax Guide for Small Business"                                                                                                
    483          Castro         8275 Instructions                                                                                                                                 
    487          Castro         Castro and Co Website Screenshots                                                                                                                 
    488          Castro         Circular 230                                                                                                                                      
    489          Castro         Wikipedia                                                                                                                                         


                                                                               DEFENDANT'S EXHIBITS

   228a                         2017 Tax Interview Packet v.6_Lampkin.pdf                                                                                                         


* The parties have stipulated that Government Exhibits 1-16, 21-27, 31-41, 46-55, 81-407, 434-466, and 467-480 are authentic and will not challenge thier admission under FRE 901(A).
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               Sponsoring
   Ex. #        Witness
                                Description of Exhibit                                                                                Identified         Offered               Admitted

   368b                         2019 V Annual Tax Interview Packet_M Putica_3.18.2020.pdf                                                                                         
   ?443                         2019 RAGSDALE U.S. FEDERAL INCOME TAX RETURN                                                                                                      
   ?468a                        2019 Annual Tax Interview Packet_R Ragsdale_3.30.2020.pdf                                                                                         


                                                                                                                                    Respectfully submitted,
                                                                                                                                    LEIGHA SIMONTON
                                                                                                                                    UNITED STATES ATTORNEY


                                /s/ Jason Freeman                                                                                   /s/ P.J. Meitl
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